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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  JOSEPH DIBUONAVENTURA,


                    Plaintiff,
                                           Civil Action No. 1:17-cv-05120
        v.

  SEAN DALTON, RAFAEL MUNIZ,               ELECTRONICALLY FILED
  in their individual capacities

                    Defendants.


       DEFENDANT SEAN DALTON’S RESPONSE TO PLAINTIFF’S
            COUNTERSTATEMENT OF MATERIAL FACTS




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       Pursuant to Fed. R. Civ. P. 56 and L. Civ. R. 56.1, Defendant, Sean Dalton,

 submits this Response to Plaintiff’s Counterstatement of Material Facts that was

 submitted by Plaintiff in opposition to Defendant Dalton’s pending Motion for

 Summary Judgment:

       1.     Admitted.

       2.a - 2.d. Admitted.

       3.     It is admitted only upon information and belief that the Amended

 Order executed by the Honorable David W. Morgan, J.S.C., dated May 21, 2015,

 attached as Exhibit B to the Certification of Counsel submitted on Plaintiff’s behalf

 in opposition to the pending motion appears to be accurate and is a document

 which speaks for itself.

       4.     It is admitted only that a true and accurate copy of a letter sent by

 Defendant Muniz to Defendant Dalton, dated August 13, 2012, is attached as

 Exhibit D to the Certification of Counsel submitted on Plaintiff’s behalf in

 opposition to the pending motion and that said document speaks for itself.

 Plaintiff’s characterization of that document and the remaining allegations set forth

 in Paragraph 4 are denied as stated.

       5.     It is admitted only that Defendant Dalton notified the Chief of the

 Prosecutor’s Supervision & Coordination Bureau of the substance of the August

 13, 2012 letter that Chief Muniz had sent to Defendant Dalton and that the Chief


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 responded via letter dated September 4, 2012, a true and accurate copy of which is

 attached as Exhibit E to the Certification of Counsel submitted on Plaintiff’s behalf

 in opposition to the pending motion. Said documents speak for themselves, and

 Plaintiff’s characterizations of those documents as well as the other allegations set

 forth in Paragraph 5 are denied as stated.

       6.     It is admitted only that a true and accurate copy of an email exchange

 between Defendant Muniz and Defendant Dalton on March 6, 2015 is attached as

 Exhibit F to the Certification of Counsel submitted on Plaintiff’s behalf in

 opposition to the pending motion and that said document speaks for itself.

 Plaintiff’s characterization of that exchange and the remaining allegations set forth

 in Paragraph 6 are denied as stated.

       7.     Admitted.

       8.     Admitted.

       9.     Admitted.

       10.    Admitted.

       11.    It is admitted only that Defendant Dalton submitted a letter, dated

 August 16, 2012, to the Chief of the Prosecutor’s Supervision & Coordination

 Bureau of the Division of Criminal Justice pertaining to the handling of the

 criminal investigation that arose from the Internal Affairs complaint filed by Paul

 Moriarty against Plaintiff and that said document speaks for itself. Plaintiff’s


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 characterization of that letter and the remaining allegations set forth in Paragraph

 11 are denied as stated.



                                               Respectfully submitted,

                                               ARCHER & GREINER
                                               A Professional Corporation

                                               Attorneys for Defendant Sean Dalton

                                               By:/s/ Laura Link, Esquire
                                                      John C. Connell, Esquire
                                                      Laura Link, Esquire
                                                      Daniel J. DeFiglio, Esquire
 Dated: December 10, 2018
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